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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
JDG:MEC                                            271 Cadman Plaza East
F. #2009R002252                                    Brooklyn, New York 11201



                                                   November 12, 2014

By ECF

The Honorable Joseph F. Bianco
United States District Court
Eastern District of New York
U.S. Courthouse
100 Federal Plaza
Central Islip, New York 11722

               Re:    United States v. Michael Ashley
                      Criminal Docket No. 11-516 (JFB)

Dear Bianco:

                This matter was originally assigned to the Honorable Arthur D. Spatt, United
States District Court Judge. The case was recently re-assigned to this Court and is related to
United States v. Poppi Metaxas (14 CR 00190(JFB)) and United States v. Robert Savitsky
(14 CR 177 (JFB)). The government respectfully submits this letter to request that the Court
order that: (1) the preparation of the Presentence Investigation Report (“PSR”), as well as the
sentencing, for the above-referenced defendant continue to be delayed; and (2) the
government file a status report by July 10, 2015, indicating whether or not the PSR and
sentencing should be further delayed. The defendant is a potential witness in United States
v. Metaxas, which is scheduled for trial before this Court on April 27, 2015. Pursuant to his
agreement with the government, the defendant consents to this application for an
adjournment.

              On August 11, 2011, the defendant pled guilty to bank fraud in violation of 18
U.S.C. § 1344. Since the defendant’s guilty plea, Judge Spatt has adjourned the defendant’s
sentencing several times at the request of the government while its investigation has
continued. Judge Spatt granted the government’s most recent application for an adjournment
to November 21, 2014. The defendant has remained at liberty on bail during the pendency of
his case. The defendant’s PSR has not yet been prepared.
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              Therefore, the government respectfully requests that the Court order that: (1)
the preparation of the PSR, as well as sentencing, continue to be delayed; and (2) the
government file a status report by July 10, 2015, indicating whether or not the PSR and
sentencing should proceed or be further delayed.

                                                  Respectfully submitted,

                                                  LORETTA E. LYNCH
                                                  United States Attorney

                                           By:
                                                  Martin E. Coffey
                                                  Assistant U.S. Attorney
                                                  (718) 254-6157

cc.    Kevin Keating Esq.
       Attorney for the Defendant

       U.S. Probation Office
       PSR Abeyance Officer




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